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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

ALYSSA CORMIER, ET AL., §
Plaintiffs, §
§
VS. §

§ NO: 1:23-cv-647-DAE
SCRIBE MEDIA, LLC, and BOND §
FINANCIAL TECHNOLOGIES §
HOLDINGS, LLC, §
Defendants. §

SCHEDULING ORDER

The scheduling recommendations provided by the parties on March 14,
2025, are adopted by the Court. Therefore, the following dates are entered to control
the course of this case:

1. The parties asserting claims for relief previously submitted their written
offer of settlement, renewed it after this Court’s order certifying a Class became
final, and Defendant Bond Financial Services previously responded in writing
rejecting it. Accordingly, the parties are conferring regarding the content of an
appropriate notice to be sent to Class Members and will present their positions to the
Court by March 28, 2025.

2. The parties shall file all motions to amend or supplement pleadings or to
join additional parties by April 30, 2025.

3. All parties asserting claims for relief shall file their designation of testifying
experts and shall serve on all parties, but not file, the materials required by Fed. R.
Civ. P. 26(a)(2)(B) by September 30, 2025. Parties resisting claims for relief shall
file their designation testifying experts and shall serve on all parties, but not file the
materials required by Fed. R. Civ. P. 26(a)(2)(B) by October 30, 2025. All
designations of rebuttal experts shall be designated within fourteen (14) days of
receipt of the report of the opposing expert.

4, An objection to the reliability of an expert's proposed testimony under
Federal Rule of Evidence 702 shall be made by motion, specifically stating the basis
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for the objection and identifying the objectionable testimony, within twenty-eight
(28) days of receipt of the written report of the expert's proposed testimony, or within
twenty-eight (28) days of the expert's deposition, if a deposition is taken, whichever
is later.

5. The parties shall complete all discovery on or before November 14, 2025.
Counsel may by agreement continue discovery beyond the deadline, but there will
be no intervention by the Court except in extraordinary circumstances, and no trial
setting will be vacated because of information obtained in post-deadline discovery.

6. All dispositive motions shall be filed no later than January 16, 2026.
Dispositive motions as defined in Local Rule CV-7(c) and responses to dispositive
motions shall be limited to twenty (20) pages in length. Replies, if any, shall be
limited to ten (10) pages in length in accordance with Local Rule CV-7(e). If parties
elect not to file dispositive motions, they must contact the courtroom deputy on
or before this deadline in order to set a trial date.

7. The hearing on dispositive motions will be set by the Court for a date after
the deadline for responses and replies.

8. The Court will set the case for trial by separate order. The order will
establish trial type deadlines to include pretrial matters pursuant to Local Rule CV-

16(e)-(g).
IT IS SO ORDERED.

DATED: Austin, Texas, March 17, 2025.

DAVID A. EZRA
SENIOR U.S. DISTRICT JUDGE
